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                                                    UNITED STATES v. RYAN WESLEY ROUTH
                                                       CASE NO. 24-80116-CR-Cannon/McCabe
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                                                      (Bates Range Nos.: Gov019843-Gov022049)
                                                                 Data Size: 6.51 TB

              FOLDER:                                                              FILE:                                    BATES Nos.:
     1
    > 01_Law Enforcement Reports       >> FBI Reports and Attachments:                                                  Gov019843-Gov020083
                                         -     FBI Reports and Attachments Combined.pdf
                                       (Gov019843-019874)
                                           -   1A30 Screen Recording 2025-03-05 091434 (1).mp4
                                       (Gov019875)
                                       >> PBSO and MCSO Reports Combined.pdf (Gov019876-Gov020080)
                                       >> USSS Reports:
                                             - ATSAIC_JH_Memorandum of Interview_Redacted.pdf
                                       (Gov020081-Gov020083)
    > 02_PRTTs 02 Serials 5 through 16 -                     -PEN_0000006_1A0000002_0000001.zip                         Gov020084-Gov020087
                                       (Gov020084)
                                       -                     -PEN_0000006_1A0000002_0000002.zip
                                       (Gov020085)
                                       -                     -PEN_0000009_1A0000005_0000002.zip
                                       (Gov020086)
                                       -                     -PEN_0000009_1A0000005_0000003.zip
                                       (Gov020087)
    > 03_Translation                   - Translation_chats - U.S. v. Ryan Wesley Routh - Case N 24-80116-CR.pdf         Gov020088-Gov020091
                                       (Gov20088-Gov020091)
    > 04_Routh Device Extractions      >> 1B30 (Gov020092)                                                              Gov020092-Gov020093
                                       >> 1B62 (Gov020093)
    > 05_1.30.25 Xterra Search         >> Photos:                                                                       Gov020094-Gov020586
                                                   -   Photos Combined Batch 1_Redacted.pdf (Jpg images: DSC0001-150)
                                                       (Gov020094-Gov020243)
                                                   -   Photos combined Batch 2.pdf (Jpg images: DSC0151-300)
                                                       (Gov020244-Gov020393)
                                                   -   Photos combined Batch 3_Redacted.pdf (Jpg images: DSC301-457)
                                                       (Gov020394-Gov020550)
                                               - 1.30.25_Photo Log_Redacted.pdf (Gov020551-020558)
                                               - Log_2_0001495_1A0001159_0000002.pdf (Gov020559-020564)

1
    “>” denotes a folder and “>>” or “>>>” denote subfolders.
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                                                  Data Size: 6.51 TB

           FOLDER:                                                     FILE:                           BATES Nos.:
                                 - Log_0001495_1A0001159_0000001_Redacted.pdf
                                 (Gov020565-Gov020581)
                                 - Ppty Receipt_0001495_1A0001159_0000007_Redacted.pdf
                                 (Gov020582-Gov020585)
                                 - Sketch_0001495_1A0001159_0000005_Redacted.pdf (Gov020586)
> 06_Jail Communications         >> 3.11.25 data release to trial team_emails:                    Gov020587-Gov020776
                                    - TRULINCS - Emails from N             M   .pdf
                                 (Gov020587-Gov020776)
> 07_USSS Radio Communications   >> DTD WPB SP Event 11:                                          Gov020777-Gov020819
                                    - Audio_1156605.wav (Gov020777)
                                    - Audio_1156606.wav (Gov020778)
                                    - Audio_1156607.wav (Gov020779)
                                    - Audio_1156608.wav (Gov020780)
                                    - Audio_1156609.wav (Gov020781)
                                    - Audio_1156610.wav (Gov020782)
                                    - - DTD WPB SP EVENT 11_Transcript_Redacted.pdf (Gov020783)
                                 >> DTD WPB-Baker:
                                    - Audio_1156621.wav (Gov020784)
                                    - Audio_1156622.wav (Gov020785)
                                    - Audio_1156623.wav (Gov020786)
                                    - Audio_1156624.wav (Gov020787)
                                    - Audio_1156625.wav (Gov020788)
                                    - Audio_1156626.wav (Gov020789)
                                    - Audio_1156627.wav (Gov020790)
                                    - Audio_1156628.wav (Gov020791)
                                    - Audio_1156629.wav (Gov020792)
                                    - Audio_1156630.wav (Gov020793)
                                    - Audio_1156631.wav (Gov020794)
                                    - Audio_1156632.wav (Gov020795)
                                    - Audio_1156633.wav (Gov020796)
                                                                   2
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                                                Data Size: 6.51 TB

           FOLDER:                                               FILE:                                BATES Nos.:
                                  - Audio_1156634.wav (Gov020797)
                                  - Audio_1156635.wav (Gov020798)
                                  - Audio_1156636.wav (Gov020799)
                                  - Audio_1156637.wav (Gov020800)
                                  - Audio_1156638.wav (Gov020801)
                                  - Audio_1156639.wav (Gov020802)
                                  - Audio_1156640.wav (Gov020803)
                                  - Audio_1156641.wav (Gov020804)
                                  - Audio_1156642.wav (Gov020805)
                                  - Audio_1156643.wav (Gov020806)
                                  - Audio_1156644.wav (Gov020807)
                                  - Audio_1156645.wav (Gov020808)
                                  - Audio_1156646.wav (Gov020809)
                                  - Audio_1156647.wav (Gov020810)
                                  - Audio_1156648.wav (Gov020811)
                                  - Audio_1156649.wav (Gov020812)
                                  - Audio_1156650.wav (Gov020813)
                                  - DTD WPB-B           _Transcript_Redacted.pdf
                               (Gov020814-Gov020815)
                               >> DTD WPB-Romero:
                                  - DTD WPB-ROMEO_Transcript_Redacted.pdf (Gov020816)
                                  - DTD-WPB ROMEO RECORD - 2024-09-15 - 13h-26m-38s - (0h-
                                     0m-6s).wav (Gov020817)
                                  - DTD-WPB ROMEO RECORD - 2024-09-15 - 13h-30m-36s - (0h-
                                     0m-5s).wav (Gov020818)
                                  - DTD-WPB ROMEO RECORD - 2024-09-15 - 14h-23m-37s - (0h-
                                     0m-2s).wav (Gov020819)
> 08_Records                   >> 1A333_Dick’s Sporting Goods Footage:                           Gov020820-Gov021336
                               >>> 08292024:
                                  - Cash Registers (40,41)-2024-08-29.mp4 (Gov020820)
                                                            3
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                         (Bates Range Nos.: Gov019843-Gov022049)
                                    Data Size: 6.51 TB

FOLDER:                                               FILE:                               BATES Nos.:
                      - Cash Registers (42,43,44,45)-2024-08-29.mp4 (Gov020821)
                      - Cash Registers (46,47,48,49)-2024-08-29.mp4 (Gov020822)
                      - Entrance South-2024-08-29.mp4 (Gov020823)
                      - Entrance West-2024-08-29.mp4 (Gov020824)
                      - Escala PTZ 1-2024-08-29.mp4 (Gov020825)
                      - Golf 360 Cam 1-2024-08-29.mp4 (Gov020826)
                      - Golf 360 Cam 2-2024-08-29.mp4 (Gov020827)
                      - Lodge Reel 3-2024-08-29.mp4 (Gov020828)
                      - Lodge-2024-08-29.mp4 (Gov020829)
                      - FBI Subpoena 748 Wellington FL.pptx (Gov020830)
                   >>> 09112024:
                      - Cash Registers (40,41)-2024-09-11.mp4 (Gov020831)
                      - Cash Registers (42,43,44,45)-2024-09-11_09h00min00s000ms.mp4
                         (Gov020832)
                      - Cash Registers (46,47,48,49)-2024-09-11.mp4 (Gov020833)
                      - Entrance South-2024-09-11.mp4 (Gov020834)
                      - Entrance West-2024-09-11.mp4 (Gov020835)
                      - Escala PTZ 1-2024-09-11.mp4 (Gov020836)
                      - Golf 360 Cam 1-2024-09-11.mp4 (Gov020837)
                      - Golf 360 Cam 2-2024-09-11.mp4 (Gov020838)
                      - Lodge Reel 3-2024-09-11.mp4 (Gov020839)
                      - Lodge-2024-09-11.mp4 (Gov020840)
                   >> 1A361_Bank of Hawaii Records:
                      - Affidavit and email (2).zip (Gov020841)
                      - Affidavit and email (3).zip (Gov020842)
                      - Affidavit and email.zip (Gov020843)
                      - Affidavit+and+email.zip (Gov020844)
                      - Cross Processor Customer Search By CARD NUM(s) w_ Txns (17)
                         (excel file) (Gov020845)
                      - Files (2).zip (Gov020846)
                                                 4
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                                    Data Size: 6.51 TB

FOLDER:                                               FILE:                               BATES Nos.:
                      - Files (3).zip (Gov020847)
                      - Files.zip (Gov020848)
                   >> 1A381_Domains by Proxy Records:
                      - 1614-082+DomainsbyProxy+return.pdf (Gov020849-020851)
                      - DBP 000001 - DBP 000025.pdf (Gov020852-020876)
                      - DBP+000001+-+DBP+000025.pdf (Gov020877-020901)
                      - Physical Documents 1A381_Redac.pdf (Gov020902-020904)
                   >> 1A382_ChecxSystems Records:
                      - checxSystems+010+returns+10-24-24.pdf (Gov020905-020907)
                      - Physical Document 1.pdf (Gov020908-020910)
                      - Physical Document 2.pdf (Gov020911)
                   >> Bancorp:
                      - GJ_0000456_1A0000389_0000001 (excel file) (Gov020912)
                      - GJ_0000456_1A0000389_0000003.pdf (Gov020913)
                   >> GJ through 465:
                   >>> Verizon_GJ_0000457_1A0000390_0000001:
                     - 3G_and_4G_BDR_Explanation_Form.pdf
                   (Gov020914)
                     - ActDeact__MTN           1251_2019-01-01_to_2024-09-23.519.csv
                   (Gov020915)
                     - AuthUsersAcctMgrs__         1251_2019-01-01_2024-09-
                        23.__NoResults.810.txt
                   (Gov020916)
                     - BDR_5g_Core_Explanation_Form.pdf
                   (Gov020917)
                     - Billing_Toll_Explanation_Sheet.pdf
                   (Gov020918)
                     - Certification_of_Records_24533710.pdf
                   (Gov020919)
                     - Compliance_Letter_24533710.pdf
                   (Gov020920)
                                                 5
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                                    Data Size: 6.51 TB

FOLDER:                                               FILE:                                       BATES Nos.:
                     - FAX_RESPONSE_SCT_2024_09_29_01_55_26.pdf
                   (Gov020921)
                     - Features__5709481251_2019-01-01_to_2024-09-23.138.csv
                   (Gov020922)
                     - IP-BDR-4g-Data_Sessions__         1251_2018-12-31_to_2024-09-24_UTC.xlsx
                        (excel file)
                   (Gov020923)
                     - IP-BDR-5g-Data_Sessions_          1251_2018-12-31_to_2024-09-24_UTC.xlsx
                        (excel file)
                   (Gov020924)
                     - IP-TDR2-Data_Sessions-4g__         1251_2019-01-01_2024-09-
                        23.__NoResults.893.txt
                   (Gov020925)
                     - IP-TDR2-Data_Sessions-VISIBLE_           1251_2019-01-01_2024-09-
                        23.__NoResults.491.txt
                   (Gov020926)
                     - IP-TDR5-Data_Sessions-5g__         1251_2019-01-01_to_2024-09-23.156.csv
                   (Gov020927)
                     - OtherNumbers__          1251_2019-01-01_to_2024-09-23.015.csv
                   (Gov020928)
                     - OwnerEmail__          1251_2019-01-01_to_2024-09-23.349.csv
                   (Gov020929)
                     - Payment_Codes.pdf
                   (Gov020930)
                     - PaymentActivity__MTN           1251_2019-01-01_to_2024-09-23.052.csv
                   (Gov020931)
                     - SCOPE_BDR_5g_Core_Explanation_Form.pdf
                   (Gov020932)
                     - SCOPE_TDR5_IPSession_without_CellSite_5g_Core_Explanation_Form.pdf
                   (Gov020933)
                     - Subscriber__MTN-          1251_2019-01-01_to_2024-09-23.013.csv
                   (Gov020934)

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                                    Data Size: 6.51 TB

FOLDER:                                          FILE:                                            BATES Nos.:
                    - TDR2_IPSession_without_CellSite_4g_Explanation_Form.pdf
                   (Gov020935)
                    - VISION.PR.336189.EAST.20241017.MTNINDEX_Redacted.pdf
                   (Gov020936-Gov021195)
                   >> Verizon 2703d Returns:
                      - 3G_and_4G_BDR_Explanation_Form.pdf
                   (Gov021196)
                      - ActDeact__MTN-          9646_2024-03-01_to_2025-02-24.490.csv
                   (Gov021197)
                      - Certification_of_Records_25191545.html
                   (Gov021198)
                      - DeviceId__MTN-          9646_2024-03-01_to_2025-02-24.260.csv
                   (Gov021199)
                      - FDR_IP_Detail_Explanation_Form.pdf
                   (Gov021200)
                      - IP-BDR-4g-Data_Sessions_          9646_2024-02-29_to_2025-02-25.066.csv
                   (Gov021201)
                      - IP-BDR-5g-Data_Sessions__         9646_2024-02-29_2025-02-
                         25.__NoResults.846.txt
                   (Gov021202)
                      - IP-Destination-FDR-4g__        9646_2024-02-29_2025-02-
                         25.__NoResults.696.txt
                   (Gov021203)
                      - IP-TDR2-Data_Sessions-4g__         9646_2024-03-01_to_2025-02-
                         24.451.csv
                   (Gov021204)
                      - IP-TDR5-Data_Sessions-5g_          9646_2024-03-01_2025-02-
                         24.__NoResults.826.txt
                   (Gov021205)
                      - OwnerEmail_           9646_2024-03-01_to_2025-02-24.148.csv
                   (Gov021206)
                      - PaymentActivity__MTN-         9646_DETOKENIZED.xlsx
                                                 7
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                         (Bates Range Nos.: Gov019843-Gov022049)
                                    Data Size: 6.51 TB

FOLDER:                                              FILE:                                      BATES Nos.:
                   (Gov021207)
                      - PaymentHistory__MTN             9646_2024-03-01_to_2025-02-24.242.csv
                   (Gov021208)
                      - SCOPE_BDR_5g_Core_Explanation_Form.pdf
                   (Gov021209)
                      - SCOPE_TDR5_IPSession_without_CellSite_5g_Core_Explanation_Form.pdf
                   (Gov021210)
                      - Subscriber__MTN-           9646_2024-03-01_to_2025-02-24.961.csv
                   (Gov021211)
                      - TDR2_IPSession_without_CellSite_4g_Explanation_Form.pdf
                   (Gov021212)
                   >> Verizon_0000462_1A0000395_0000001:
                      - 3G_and_4G_BDR_Explanation_Form.pdf
                   (Gov021213)
                      - ActDeact__MTN-                _2019-01-01_to_2024-09-23.767.csv
                   (Gov021214)
                      - Billing_Toll_Explanation_Sheet.pdf
                   (Gov021215)
                      - CDR-4g_VoLTE__                 _2019-01-01_to_2024-09-23.757.csv
                   (Gov021216)
                      - DeviceId__MTN-                _2019-01-01_to_2024-09-23.915.csv
                   (Gov021217)
                      - Features__              _2019-01-01_to_2024-09-23.589.csv
                   (Gov021218)
                      - IP-BDR-4g-Data_Sessions__               .xlsx
                   (Gov021219)
                      - IP-TDR2-Data_Sessions-4g__               _2019-01-01_to_2024-09-
                          23.886.csv
                   (Gov021220)
                      - IP-TDR5-Data_Sessions-5g_                _2019-01-01_2024-09-
                          23.__NoResults.746.txt
                   (Gov021221)

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FOLDER:                                               FILE:                                     BATES Nos.:
                      - OtherNumbers_                 _2019-01-01_to_2024-09-23.484.csv
                   (Gov021222)
                      - OwnerEmail_                  _2019-01-01_to_2024-09-23.893.csv
                   (Gov021223)
                      - Payment_Codes.pdf
                   (Gov021224)
                      - PaymentActivity__MTN                _2019-01-01_to_2024-09-23.715.csv
                   (Gov021225)
                      - Subscriber__MTN               _2019-01-01_to_2024-09-23.944.csv
                   (Gov021226)
                      - TDR2_IPSession_without_CellSite_4g_Explanation_Form.pdf
                   (Gov021227)
                      - Text Detail MMS Detail with Time Zones.pdf
                   (Gov021228-Gov021230)
                      - Text Detail SMS Detail with Time Zones.pdf
                   (Gov0021231-Gov021232)
                      - TextDetail-MMS__               _2019-01-01_to_2024-09-23.232.csv
                   (Gov021233)
                      - TextDetail-SMS_               _2019-01-01_to_2024-09-23.718.csv
                   (Gov021234)
                      - Tolls_             .pdf
                   (Gov021235-Gov021329)
                      - VCE-5g-Core-Voice__               _2019-01-01_2024-09-
                         23.__NoResults.956.txt
                   (Gov021330)
                      - VOLTE_Call_Detail_Explanation_Form.pdf
                   (Gov021331-Gov021332)
                   - Lowes_Production Copy - Ryan Routh (excel file) (Gov021333)
                   - United_0000257_1A0000221_0000002_Redacted.pdf
                   (Gov021334-Gov021335)
                   - Walmart_0000461_1A0000394_0000001 (excel file) (Gov021336)

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FOLDER:                                                 FILE:                                   BATES Nos.:
                     - Check In Notes Combined.pdf (Gov021488-Gov021537)
                     - MM Spreadsheet_Redacted.pdf (Gov021538-Gov021551)
                     - T20240497147_Redacted.pdf (Gov021552-Gov021554)
                   >>> Questioned Documents-C , R              :
                   >>>> 2024-02020 #10:
                   >>>>> Images (.NEF files):
                   >>>>>> Duplicate Images:
                       - CEG_0057 (Gov021555)
                       - CEG_0058 (Gov021556)
                       - CEG_0059 (Gov021557)
                       - CEG_0060 (Gov021558)
                       - CEG_0061 (Gov021559)
                       - CEG_0062 (Gov021560)
                       - CEG_0063 (Gov021561)
                       - CEG_0064 (Gov021562)
                       - CEG_0065 (Gov021563)
                       - CEG_0066 (Gov021564)
                   >>>>>> K_i237:
                       - 25-35967511-1002-MOs Combined.pdf (Gov021565-Gov021636)
                   >>>>>> K_Item 237-1:
                       - 25-35967511-1002-MO-7.pdf (Gov021637-Gov021647)
                   >>>>>> Q_i238:
                       - CEG_0057 through CEG_066 Combined.pdf: (Gov021648-Gov021657)
                   - 2024-02020 #10 Record Images.Item 237-1.pdf (Gov021658-Gov021668)
                   - 2024-02020 #10 Record Images.Items 237 and 238.pdf (Gov021669-Gov021750)
                   >>>> 2024-02020 #11:
                   >>>>> Images:
                      - Images Combined.pdf (Gov021751-Gov021800)
                   >>>>> item 248 ESDA Lifts:
                      - ESDA lift of i240 p3a_2.pdf (Gov021801)
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           FOLDER:                                                  FILE:                                         BATES Nos.:
                                    - ESDA lift of i240 p3a_3.pdf (Gov021802)
                                    - ESDA lift of i240 p3a_4.pdf (Gov021803)
                                - 2024-02020 #11 Record Images.pdf (Gov021804-Gov021853)
                                >>>> 2024-02020 #11 VSC Images of Printer.Roller Marks:
                                    - Markings on back with UV 2 documents side by side i240p9 bottom and
                                       i247p12 top[1].tif (Gov021854)
                                    - Markings on back with UV i245p4[1].tif (Gov021855)
                                >>>> Images Provided by Contributor:
                                    - Dear World.zip (CEG0057-CEG0066 NEF/Jpg files) (Gov021856)
                                    - NYT Letter 1B110.zip (DSC_0297-DSC329 Jpg files) (Gov021857)
                                >>>> Quality Documents:
                                    - FBI Approved Standards for Scientific Testimony and Report Language
                                       for Forensic Document Comparisons.pdf (Gov021858-Gov021862)
                                    - Handwriting Hand Printing Examinations.pdf (Gov021863-Gov21870)
                                - 2024-02020 #11 Enclosures.pdf (Gov021871-Gov021873)
                                - 2024-02020 #11 VSC Images Notes.pdf (Gov021874-Gov021875)
                                - 2024-02020 Physical 1A Case Technical and Administrative Notes.pdf
                                (Gov021876-Gov021920)
                                - 2024-02020-38 1A.pdf (Gov021921-Gov021952)
                                - ESDA lift of i240 p3a_2 notes copy.pdf (Gov021953)
                                - Physical 1A Cover_Redacted.pdf (Gov021954)
                                -R       C CV December 2024.pdf (Gov021955-Gov021958)
                                >> FBI Quantico Lab Photos:
                                    - FBI Quantico Lab Photos Combined.pdf (Gov021959-Gov021971)
> 13_Records 2                   >> TMobile_4253:                                                             Gov021972-Gov021974
                                    - GJ_0000469_1A0000402_0000001.zip (Gov021972)
                                >> Zoom (Keybase):
                                    - GJ_0000468_1A0000400_0000001.xlsx (excel file) (Gov021973)
                                    - GJ_0000468_1A0000400_0000002.xlsx (excel file) (Gov021974)
> 14_Passwords                   - Passwords.pdf (Gov021975) (List of Passwords to Third Party Productions)       Gov021975
                                                              14
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